     Case 4:21-cv-00049-WTM-CLR Document 20 Filed 11/03/21 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


CHARLES J. FREEiyiAN, JR.,

       Petitioner,

V.                                            CASE NO. CV421-049


SAM ZANDERS, Warden,

       Respondent.


                                ORDER


      Before the Court is the Magistrate Judge's August 30, 2021,

Report and Recommendation {Doc. 19), to which Petitioner has not

filed objections. After a careful review of the record,^ the Report

and Recommendation (Doc. 19) is ADOPTED as the Court's opinion in

this case. As a result, this action is DISMISSED. The Clerk of

Court is DIRECTED to close this case.


      Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States, Nos. 407CV085, 403CR001, 2009 WL

307872 at *1 (S.D. Ga. Feb. 9, 2009), the Court discerns no COA-

worthy issues at this stage of the litigation, so no COA should




^ The Court reviews de novo a magistrate judge's findings to which
a petitioner objects, and the Court reviews for clear error the
portions of a report and recommendation to which a petitioner does
not object. 28 U.S.C. § 636(b)(1); see Merchant v. Nationwide
Recovery Serv., Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020)
(citing Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th Cir.
2006) (per curiam) (outlining the standard of review for report
and recommendations)).
    Case 4:21-cv-00049-WTM-CLR Document 20 Filed 11/03/21 Page 2 of 2




issue either. 28 U.S.C. § 2253(c)(1); Rule 11(a) of the Rules

Governing Section 2254 Proceedings for the United States District

Courts ("The district court must issue or deny a certificate of

appealability   when   it   enters   a   final   order   adverse   to   the

applicant.")•

     SO ORDERED this           day of November 2021.


                                 WILLIAM T. MOORE, 'UR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
